Case 3:16-cv-00151-SMY-PMF Document 8 Filed 02/26/16 Page 1 of 2 Page ID #19
 


                                           IN THE UNITED STATES DISTRICT COURT
                                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


    TIMOTHY ROSE,                                                   )
                                                                    )
                                             Plaintiff,             )
                                                                    )
    vs.                                                             )
                                                                    )
    O'REILLY AUTO PARTS,                                            )   Case No. 16-CV-151-SMY-PMF
                                                                    )
                                             Defendants.            )
                                                                    )
                                                                    )
                                                                    )
                                                                    )


                                                       MEMORANDUM AND ORDER
YANDLE, District Judge:

              Pursuant to the Court's obligation to raise sua sponte whether it has subject matter

jurisdiction, (Craig v. Ontario Corp., 543 F.3d 872, 875 (7th Cir.2008)), and having reviewed

the Notice of Removal in this case (Doc. 1), the Court finds that Defendant insufficiently pled

diversity jurisdiction. Accordingly, this matter is REMANDED to the Circuit Court of the Third

Judicial Circuit, Madison County, Illinois.

              Plaintiff filed suit against Defendant O'Reilly Auto Parts1 alleging personal injury and

economic damages suffered as a result of Defendant's failure to maintain its sidewalk in safe

condition (Doc. 1-3). Defendant removed this action from the Circuit Court of Madison County,

Illinois on February 10, 2016 (Doc. 1). Federal subject matter jurisdiction is alleged on the basis

of diversity of citizenship pursuant to 28 U.S.C. § 1332.


                                                            
1
 Defendant has noted that it was misnamed in the original Complaint. Its true name is O'Reilly Automotive Stores,
Inc.

                                                                1
 
Case 3:16-cv-00151-SMY-PMF Document 8 Filed 02/26/16 Page 2 of 2 Page ID #20
 


       The exercise of diversity jurisdiction requires that an amount in excess of $75,000.00,

exclusive of interest and costs, be in controversy and that all parties be of completely diverse

citizenship - that is, no plaintiff is a citizen of the same state as any defendant. See 28 U.S.C. §

1332(a)(1).

       To determine the amount in controversy, the Court looks to the face of the plaintiff's

complaint. Chase v. Shop 'N Save Warehouse Foods, Inc., 110 F.3d 424, 427 (7th Cir. 1997). In

this case, Plaintiffs' Complaint seeks a judgment "in an amount in excess of $50,000.00."

Defendants assert that Plaintiff’s damages exceed $75,000.00 (Doc. 1, ¶ 6).              However,

Defendant's beliefs are insufficient evidentiary support that Plaintiff’s damages indeed exceed

$75,000.00. As such, the Court finds that the Complaint does not fairly and clearly demonstrate

that the amount-in-controversy requirement of § 1332 has been met. See Brill v. Countrywide

Home Loans, Inc., 427 F.3d 446, 447 (7th Cir. 2005) ("Whichever side chooses federal court

must establish jurisdiction; it is not enough to file a pleading and leave it to the court or the

adverse party to negate jurisdiction."); see also Morales v. Menard, Inc., No. 12-CV-9082, 2014

WL 1364996, at *1 (N.D. Ill. Apr. 7, 2014) ("The party seeking federal jurisdiction bears the

burden to prove that the amount-in-controversy requirement of § 1332 has been met and that this

Court has jurisdiction").

       Accordingly, this Court does not have proper subject matter jurisdiction over this case

and is obligated, pursuant to 28 U.S.C. § 1447(c), to REMAND the matter back to the Circuit

Court of the Third Judicial Circuit, Madison County, Illinois.

       IT IS SO ORDERED.

       DATED: February 26, 2016
                                                     s/ Staci M. Yandle
                                                     STACI M. YANDLE
                                                     United States District Judge

                                                 2
 
